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  Jeff Carruth (TX SBN:. 24001846)                Christopher M. Lee
  WEYCER, KAPLAN, PULASKI & ZUBER, P.C.           State Bar No. 24041319
  3030 Matlock Rd., Suite 201                     LEE LAW FIRM, PLLC
  Arlington, TX 76015                             8701 Bedford Euless Rd, Ste 510
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  ATTORNEYS FOR
  ANSON FINANCIAL INC.
  DEBTOR AND DEBTOR IN POSSESSION




                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


  IN RE:                                         §
                                                 §
  ANSON FINANCIAL, INC.,                         §           CASE NO. 21-41517-elm-11
                                                 §
         DEBTOR.                                 §

        MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL
        COUNSEL FOR DEBTOR IN ADVERSARY PROCEEDING NO. 21-04071

 NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS
 FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
 THE ELDON B. MAHON U.S. COURTHOUSE, 501 W. 10TH ST., FORT WORTH, TX
 76102-3643. BEFORE CLOSE OF BUSINESS ON MARCH 3, 2021, WHICH IS AT LEAST
 21 DAYS FROM THE DATE OF SERVICE HEREOF.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
 COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
 THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A HEARING
 MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
 RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
 MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
 ACTION MAY BE TAKEN.

 TO THE HONORABLE EDWARD L. MORRIS, U.S. BANKRUPTCY JUDGE:

        Anson Financial Inc., debtor and debtor in possession (“Anson” or the “Debtor”) files this

 Motion to Employ Sullivan & Cook, LLC as Special Counsel for Debtor in Adversary Proceeding

 MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY
 PROCEEDING NO. 21-04071 — Page 1                                     2101317.DOCX[1]
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 No. 21-04071 (the “Motion to Employ”), pursuant to 11 U.S.C. §§ 327(a) and (e) and 328(a) and

 Fed. R. Bankr. P. 2014, for an order authorizing the retention of Sullivan & Cook, LLC as special

 litigation counsel for the Debtor, generally, to undertake to identify, analyze, and pursue and

 defend against B. Frazier Asset Management, Inc. and Brian H. Frazier, individually (collectively

 “Frazier”) in the adversary proceeding trial under Adv. No. 21-04071 (including the consolidated

 Objection to Proof of Claim No. 21). In support of this Motion to Employ, the Debtor submits the

 Declaration of Jason Ankele (the “Ankele Declaration”), attached hereto as Exhibit ANS170 and

 incorporated herein by reference.

                                     I. Jurisdiction and Venue

         1.     This Court has jurisdiction to consider this Motion to Employ under the provisions

 of 28 U.S.C. §§ 157 and 1334. This matter involves the administration of a bankruptcy estate and,

 thus, is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue of this proceeding is proper

 in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief

 requested in this Application are sections 105(a), 327, 328, 330, 331 and 1107 of title 11, United

 States Code (the “Code” or the “Bankruptcy Code”), and Rules 2014 and 2016 of the Federal Rules

 of Bankruptcy Procedure.

                                         II. Introduction

         2.     The Debtor filed a voluntary petition under Chapter 11 of the United States

 Bankruptcy Code, 11 U.S.C. § 101 et seq. on June 25, 2021.

         3.     The Debtor is operating as debtor-in-possession pursuant to 11 U.S.C. §§ 1107 and

 1108.

         4.     Areya Holder Aurzada has been appointed as Subchapter V Trustee on August 4,

 2021.

         5.     On September 24, 2021, the Debtors filed their Chapter 11 Plan of Reorganization.

 MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY
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         6.      On November 1, 2021, Anson filed its Notice of Removal of the state court action

 between Frazier and the Debtor, under Adv. Proc. No. 21-04071.

         7.      On December 9, 2021, Frazier filed its Motion to Remand requesting that the state

 court action be remanded back to the state court.

         8.      On January 24, 2022, the Court denied Frazier’s Motion to Remand and decided to

 keep Adv. Proc. No. 21-04071 in this Court.

         9.      On February 7, 2022, the Court set Adv. Proc. No. 21-04071 on the April 4, 2022

 trial docket.

                                       III. Relief Requested

         10.     Subject to approval of this Court, the Debtor has employed Sullivan & Cook, LLC

 effective as of February 9, 2022, as its special counsel to serve along with counsel Magan Law,

 PLLC with the prosecution of this case under Adv. Proc. No. 21-04071.

         11.     Pursuant to Code § 327(a), the Debtor requests that the Court approve the

 employment of Sullivan & Cook, LLC as its special counsel to perform as lead trial counsel in the

 Adv. Proc. No. 21-04071.

         12.     A proposed form of order is submitted with this Motion and is incorporated by

 reference herein.

                                  IV. Qualifications of Sullivan & Cook

         13.     The Debtor has selected Sullivan & Cook, LLC because of Sullivan & Cook’s

 experience and knowledge regarding the facts and circumstances of the Debtor and the state court

 litigation with Frazier. Sullivan & Cook, LLC was the Debtor’s lead state court counsel in the

 Frazier litigation from November of 2016 up until the filing of this bankruptcy proceeding. At that

 time, Ms. Hernandez with Magan Law, PLLC began familiarizing herself with the state court

 lawsuit to attempt to represent the Debtor in the bankruptcy proceeding. Due to the quick trial

 MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY
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 setting in this adversary proceeding and given that Sullivan & Cook, LLC has represented the

 Debtor in this action for over five (5) years and also having already prepped this case for trial back

 in state court, Sullivan & Cook, LLC is necessary to be employed as lead special counsel in this

 adversary. Sullivan & Cook, LLC is qualified to continue representing the Debtor in the Frazier

 adversary proceeding.

                          V. Services to be Provided by Sullivan & Cook

        14.      The services of Sullivan & Cook, LLC are necessary to enable the Debtor to defend

 itself in the trial in Adv. Proc. No. 21-04071 and in connection with the objection to Proof of Claim

 21.

        14.      Subject to further order of this Court, and subject to the limitations below Sullivan

 & Cook, LLC will render, inter alia, and without limitation, the following professional services:

                 a.      Take all necessary actions to protect and preserve the rights of the Debtor
                         in Adv. Proc. No. 21-04071 and the corresponding to objection to Proof of
                         Claim No. 21;

                 b.      Prepare on behalf of the Debtor, as debtor-in-possession, all necessary
                         motions, applications, answers, orders in connection with the representation
                         of the Debtor in Adv. Proc. No. 21-04071; and

                 c.      Perform all other necessary litigation services in connection with Adv. Proc.
                         No. 21-04071.

        15.      This engagement is solely for the purpose of litigation in Adv. Proc. No. 21-04071

 and in connection with the Objection to Proof of Claim No. 21.

              VI. Disclosure Concerning Conflicts of Interest or Prior Relationships

        16.      To the best of the Debtor’s knowledge, information, and belief, other than as set

 forth herein and/or in the Ankele Declaration and in connection with this case, Sullivan & Cook

 has no connection with the Debtor’s creditors, the United States Trustee, or any other party with

 an actual or potential interest in this case or its respective attorneys or accountants.


 MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY
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        17.     To the best of the Debtor’s knowledge, information, and belief, Sullivan & Cook

 represents no other interest adverse to the Debtor or its estate. The Debtor believes and represents

 that, to the best of its knowledge, Sullivan & Cook is a “disinterested person” as that term is defined

 in Code § 101(14).

        18.     The Debtor submits that its employment of Sullivan & Cook would be in the best

 interests of the Debtor, the respective estates, and all creditors.       The Debtor’s knowledge,

 information, and belief regarding the matters set forth herein are based and made in reliance upon

 the Ankele Declaration.

                                VII. Payment of Fees and Expenses

        19.     Subject to the Court’s approval, Sullivan & Cook will charge the following fees for

 its legal services in accordance with the litigation in Adv. Proc. No. 21-04071 and in connection

 with the Objection to Proof of Claim No. 21.

                a. Jason Ankele: $395.00 per hour.

        20.     In November 2016, the Debtor retained Sullivan & Cook, LLC for its representation

 in the Frazier state court lawsuit. On February 9, 2022, the Debtor executed and delivered an

 engagement letter to Sullivan & Cook, LLC for its representation in Adv. Proc. No. 21-04071.

        21.     Sullivan & Cook did not collect an additional initial retainer in its representation in

 Adv. Proc. No. 21-04071.

                        VIII. Retention of WKPZ and Magan Law, PLLC

        22.     The Debtor has retained WKPZ as counsel for this Chapter 11 case who is operating

 as the Debtor’s bankruptcy counsel.

        23.     The Debtor has retained Magan Law, PLLC as special counsel in this Chapter 11

 case to assist with pre-petition state court litigation. Magan Law, PLLC is not earning any fees

 from the Debtor for its representation. Magan Law, PLLC and Sullivan & Cook, LLC will

 MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY
 PROCEEDING NO. 21-04071 — Page 5                                     2101317.DOCX[1]
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 endeavor to avoid duplication of services and efforts and will be working together in connection

 with the trial set in Adv. Proc. No. 21-04071. In addition, because Magan Law, PLLC is not

 earning any additional fees from the Debtor in her representation, Magan Law, PLLC and Sullivan

 & Cook, LLC will facilitate as much work to Magan Law, PLLC to keep costs down for the Debtor.

        24.     If Sullivan & Cook, LLC is approved as special counsel for Adv. Proc. No. 21-

 04071, WKPZ will no longer be involved and will not charge any additional fees to the Debtor in

 connection with Adv. Proc. No. 21-04071. Therefore, the Debtor will not be paying three law

 firms for representation in the Adv. Proc. No. 21-04071 litigation. In fact, the Debtor will be

 saving money due to Sullivan & Cook, LLC’s previous preparation and lower hourly fee.

                                            IX. Conclusion

        25.     Debtor believes that the employment of Sullivan & Cook, LLC, for the purpose of

 handling the trial litigation matters in Adv. Proc. No. 21-04071 will be in the best interest of the

 estate and, accordingly, Debtor requests that Sullivan & Cook, LLC be employed as special

 counsel for the Debtor.


        WHEREFORE, based on the foregoing, the Debtor respectfully requests that this Court

 enter an order (a) authorizing the Debtor to retain and employ Sullivan & Cook, LLC as its special

 counsel in Adv. Proc. No. 21-04071 effective as of February 9, 2022 pursuant to Code §§ 327(a)

 and (e). Debtor requests such other and further relief to which Debtor is entitled at law or in equity.




 MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY
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  Dated: February 9, 2022                  Respectfully submitted:

                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                           By:       /s/ Jeff Carruth
                                                 JEFF CARRUTH (TX SBN:. 24001846)
                                                 3030 Matlock Rd., Suite 201
                                                 Arlington, Texas 76105
                                                 Telephone: (713) 341-1158
                                                 Fax: (866) 666-5322
                                                 E-mail: jcarruth@wkpz.com

                                           ATTORNEYS FOR
                                           ANSON FINANCIAL, INC.
                                           DEBTOR AND DEBTOR IN POSSESSION


                                  CERTIFICATE OF SERVICE
         The undersigned hereby certifies that a true and correct copy of the foregoing was served
 on February 9, 2022 (1) by electronic notice to all ECF users who have appeared in this case to
 date, as set forth below and (2) by regular mail to all parties so indicated in the attached service
 list.

                                                      /s/ Jeff Carruth
                                                      Jeff Carruth




 MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY
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                                              ECF SERVICE LIST

 21-41517-elm11 Notice will be electronically           Bates
 mailed to:                                             Amanda.Catlin@fnf.com

 Jeffery D. Carruth on behalf of Debtor Anson           Lawrence Chek on behalf of Creditor Wells Fargo
 Financial, Inc.                                        Bank, National Association
 jcarruth@wkpz.com,                                     lchek@pamlaw.com, mislas@pamlaw.com
 jcarruth@aol.com;atty_carruth@trustesolutions.com;
 carruthjr87698@notify.bestcase.com                     Eboney D. Cobb on behalf of Creditor City of
                                                        Colleyville
 Jeffery D. Carruth on behalf of Defendant Anson        ecobb@pbfcm.com,
 Financial, Inc.                                        ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;     Eboney D. Cobb on behalf of Creditor Grapevine-
 carruthjr87698@notify.bestcase.com                     Colleyville ISD
                                                        ecobb@pbfcm.com,
 Jeffery D. Carruth on behalf of Plaintiff AFI Loan     ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com
 Servicing, LLC
 jcarruth@wkpz.com,                                     Ian D. Ghrist on behalf of Creditor Ghrist Law Firm
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 carruthjr87698@notify.bestcase.com                     ian@ghristlaw.com,
                                                        christian@ghristlaw.com;idghrist@gmail.com;sarah
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                                                        christian@ghristlaw.com;idghrist@gmail.com;sarah
 Jeffery D. Carruth on behalf of Plaintiff J. Michael   @ghristlaw.com
 Ferguson P.C.
 jcarruth@wkpz.com,                                     Ian D. Ghrist on behalf of Defendant Ian Ghrist
 jcarruth@aol.com;atty_carruth@trustesolutions.com;     ian@ghristlaw.com,
 carruthjr87698@notify.bestcase.com                     christian@ghristlaw.com;idghrist@gmail.com;sarah
                                                        @ghristlaw.com
 Jeffery D. Carruth on behalf of Plaintiff MBH Real
 Estate, LLC                                            Kathryn Hernandez on behalf of Debtor Anson
 jcarruth@wkpz.com,                                     Financial, Inc.
 jcarruth@aol.com;atty_carruth@trustesolutions.com;     k.magan@maganlawpllc.com
 carruthjr87698@notify.bestcase.com
                                                        Kathryn Hernandez on behalf of Defendant Anson
 Alonzo Zachary Casas on behalf of Creditor             Financial, Inc.
 JPMORGAN CHASE BANK, N.A.                              k.magan@maganlawpllc.com
 ecftxnb@aldridgepite.com,
 acasas@ecf.inforuptcy.com                              Kathryn Hernandez on behalf of Interested Party Joe
                                                        Michael Ferguson
 Amanda Allison Catlin on behalf of Creditor Sterling   k.magan@maganlawpllc.com


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                                                        mpetrocchi@lawgjm.com,
 Kathryn Hernandez on behalf of Plaintiff AFI Loan      mkidd@lawgjm.com;mpetrocchi@yahoo.com
 Servicing, LLC
 k.magan@maganlawpllc.com                               Laurie A. Spindler on behalf of Creditor Tarrant
                                                        County
 Kathryn Hernandez on behalf of Plaintiff Anson         Laurie.Spindler@lgbs.com, Dora.Casiano-
 Financial, Inc.                                        Perez@lgbs.com;dallas.bankruptcy@lgbs.com
 k.magan@maganlawpllc.com
                                                        Matthew Tillma on behalf of Creditor JPMorgan
 Kathryn Hernandez on behalf of Plaintiff J. Michael    Chase Bank, N.A. s/b/m/t Chase Bank USA, N.A.
 Ferguson P.C.                                          Matthew.Tillma@BonialPC.com,
 k.magan@maganlawpllc.com                               Notices.Bonial@ecf.courtdrive.com

 Kathryn Hernandez on behalf of Plaintiff MBH Real      United States Trustee
 Estate, LLC                                            ustpregion06.da.ecf@usdoj.gov
 k.magan@maganlawpllc.com
                                                        Lyndel Anne Vargas on behalf of Creditor B. Frazier
 Areya Holder Aurzada (SBRA V)                          Management, Inc.
 trustee@holderlawpc.com,                               LVargas@chfirm.com,
 aha@trustesolutions.net;caha11@trustesolutions.net     chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
                                                        ourtdrive.com
 Christopher Marvin Lee on behalf of Debtor Anson
 Financial, Inc.                                        Lyndel Anne Vargas on behalf of Creditor Brian
 ecf@leebankruptcy.com,                                 Frazier
 clerk@leebankruptcy.com;LeeLawFirmPLLC@jubil           LVargas@chfirm.com,
 eebk.net                                               chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
                                                        ourtdrive.com
 Craig C. Lesok on behalf of Creditor Jentex
 Financial, Inc.                                        Lyndel Anne Vargas on behalf of Plaintiff B. Frazier
 craig@lesoklaw.com                                     Management, Inc.
                                                        LVargas@chfirm.com,
 Joyce W. Lindauer on behalf of Creditor Joseph I       chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
 Yammine                                                ourtdrive.com
 joyce@joycelindauer.com,
 dian@joycelindauer.com;deann@joycelindauer.com;        Lyndel Anne Vargas on behalf of Plaintiff Brian H.
 12113@notices.nextchapterbk.com                        Frazier
                                                        LVargas@chfirm.com,
 Mark Joseph Petrocchi on behalf of Creditor Leroy J.   chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
 York Family Limited Partnership                        ourtdrive.com




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                                PROPOSED ORDER




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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


   IN RE:                                        §
                                                 §
   ANSON FINANCIAL, INC.,                        §             CASE NO. 21-41517
                                                 §
          DEBTOR.                                §

        ORDER GRANTING MOTION TO EMPLOY SULLIVAN & COOK, LLC
        AS SPECIAL COUNSEL FOR DEBTOR IN ADVERSARY PROCEEDING
        NO. 21-04071 (RE: DOCKET NO. 238)


         On this day came on for consideration the Motion to Employ Sullivan & Cook, LLC as
 Special Counsel for Debtor in Adversary Proceeding No. 21-04071 (Docket No. 238) (the “Motion
 to Employ”) of Anson Financial Inc., debtor and debtor in possession (the “Debtor”), filed on
 February 9, 2022 in the above-styled and numbered case(s), seeking approval of the employment
 of Jason Ankele at Sullivan & Cook, LLC as its special counsel as more particularly set forth in
 the Motion to Employ and the accompanying Declaration. The Court finds that the Motion to
 Employ contained the appropriate notice and was served upon the parties entitled to notice. No
 objections to the Motion were filed. Upon review of the Motion, it appears to the Court that the
 proposed professional is “disinterested” as that term is defined in Code § 101(14) and that the
 proposed professional represents or holds no interest adverse to the Debtor.




 ORDER GRANTING MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN
 ADVERSARY PROCEEDING NO. 21-04071 — Page 1                                2101317.DOCX[8]
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        IT IS THEREFORE ORDERED that the Motion to Employ Sullivan & Cook, LLC is
 GRANTED and the Debtor is authorized to employ Sullivan & Cook, LLC as special counsel to
 the Debtor and the related Chapter 11 estate(s) pursuant to 11 U.S.C. § 327(a) and (e), nunc pro
 tunc and effective as of February 9, 2022, as set forth in the Motion to Employ Sullivan & Cook,
 LLC.

                                     ###ENDOFORDER###




 ORDER GRANTING MOTION TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR DEBTOR IN
 ADVERSARY PROCEEDING NO. 21-04071 — Page 2                                2101317.DOCX[8]
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                                         EXHIBIT ANS170


                   UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION
   IN RE:                          §
                                   §
   ANSON FINANCIAL, INC.,          §         CASE NO. 21-41517
                                   §
         DEBTOR.                   §
       DECLARATION OF JASON ANKELE IN SUPPORT OF MOTION TO
       EMPLOY SULLIVAN & COOK, LLC AS SPECIAL COUNSEL FOR
       DEBTOR IN ADVERSARY PROCEEDING NO. 21-04071

        Jason Ankele, pursuant to 28 U.S.C. § 1746, hereby declares as follows:
         1.      My name is Jason Ankele. I am over the age of twenty-one (21) years, of sound
 mind, and competent to testify herein. I have personal knowledge of the facts stated herein and
 they are true and correct to the best of my knowledge and belief.
         2.     I have been licensed to practice law in the State of Texas since 1993. I am admitted
 to practice law and am in good standing in multiple jurisdictions including: the Northern District
 of Texas, the Eastern District of Texas, and the Fifth Circuit Court of Appeals.
       3.       I am of counsel with the law firm of Sullivan & Cook, LLC, and have been since
 May 2015.
         4.      In November 2016, the Debtor hired me to represent it in a state court lawsuit
 against B. Frazier Asset Management, Inc. f/k/a Frazier Asset Management, Inc., and Brian H.
 Frazier, Individually, in the 342nd District Court in Tarrant County, Texas, Cause No. 342-288776-
 16 (“Frazier lawsuit”). I became the lead state court counsel for the Debtor in this case.
        5.     The Frazier lawsuit was set for a jury trial in the state court on June 28, 2021 to
 which I was fully prepared for.
         6.      On June 25, 2021, the Debtor filed for bankruptcy halting the jury trial in state
 court. At that time, the Debtor was focusing on his bankruptcy case with other representation as
 the Frazier lawsuit was stayed.
         7.      I understand that the Debtor removed the Frazier lawsuit to the bankruptcy court
 on November 1, 2021. It is further my understanding that, on January 24, 2022, the bankruptcy
 court decided to keep the Frazier lawsuit within its jurisdiction and not remand it back to the state
 court. I also understand that during a status conference held on February 7, 2022, the court set the
 Frazier lawsuit on the trial docket for April 4, 2022.
          8.     Now, I have been requested by the above-captioned debtor and debtor in possession
 (the “Debtor”) to represent it in the adversary proceeding trial in Adv. Proc. No. 21-04071
 (including the consolidated objection to Proof of Claim No. 21) as special counsel due to my
 expertise in representing the Debtor in this action in the state court and already having prepped for
 a trial.



 DECLARATION OF JASON ANKELE — Page 1                                                     2101317.DOCX[9]
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                                           EXHIBIT ANS170


       9.      This declaration was prepared and is being submitted as an exhibit to the Motion to
 Employ Sullivan & Cook, LLC as Special Counsel for Debtor in Adversary Proceeding No. 21-
 04071 (“Motion to Employ”). I have read the Motion to Employ and I agree to the terms of
 employment set forth therein.
        10.    The above-captioned Debtor desires to employ Jason Ankele with Sullivan & Cook,
 LLC, to provide litigation services in connection with Adv. Proc. No. 21-04071. The services that
 Sullivan & Cook, LLC, will render to the Debtor may be summarized as follows:
              a. Take all necessary actions to protect and preserve the rights of the Debtor in Adv.
                 Proc. No. 21-04071 corresponding to the objection to Proof of Claim No. 21;
              b. Prepare on behalf of the Debtor, as debtor-in-possession, all necessary motions,
                 applications, answers, orders in connection with the representation of the Debtor in
                 Adv. Proc. No. 21-04071; and
              c. Perform all other necessary litigation services in connection with Adv. Proc. No.
                 21-04071.
        11.    This engagement is solely for the purpose of litigation proceedings within Adv.
 Proc. No. 21-04071 and in connection with the objection to Proof of Claim No. 21.
          12.     I understand that Kathryn Hernandez with Magan Law, PLLC, has also recently
 been approved as Special Counsel for the Debtor. It is my understanding that Ms. Hernandez
 started to gain a general understanding of the Frazier lawsuit in connection with her employment
 with J. Michael Ferguson, the owner of the Debtor, which employment commenced right before
 the trial setting in the state court lawsuit. However, Ms. Hernandez did not represent the Debtor
 in the state court lawsuit and only became familiar with the state lawsuit right before the trial
 setting and did not take any action or responsibility in helping to prepare or defend the Debtor in
 the state court trial. It is now my understanding that Ms. Hernandez has continued to represent the
 Debtor against the Frazier parties in connection with this bankruptcy proceeding; however, has not
 yet reached the specialization and knowledge that I have in representing the Debtor in this action
 over the past 5 years.
         13.     I understand that upon approval from the Court, Ms. Hernandez and I will work
 together to represent the Debtor in the Frazier adversary with Sullivan & Cook, LLC, being the
 lead attorney in that representation. With Ms. Hernandez and I working together, we will endeavor
 to avoid duplication of services and efforts and utilize Ms. Hernandez as much as possible since it
 is my understanding she is not earning any additional fees from the Debtor in her representation
 as special counsel.
        14.        Subject to the Court’s approval, my fees in this representation are as follows:
              a.   $395.00 per hour.
         15.    In November 2016, the Debtor retained Sullivan & Cook, LLC, for its
 representation in the Frazier state court lawsuit. On February 9, 2022, the Debtor executed and
 delivered the engagement letter to Sullivan & Cook for its representation in Adv. Proc. No. 21-
 04071.


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                                         EXHIBIT ANS170


        16.    I did not collect an additional initial retainer for my representation in Adv. Proc.
 No. 21-04071.
         17.     I have reviewed the records of Sullivan & Cook, LLC, to determine the existence
 of any interest held or represented by myself that is adverse to the Debtor’s estate or its creditors.
 Based on that review, I am informed and believe that:
             a. Sullivan & Cook, LLC, is not and was not a creditor of the Debtor in this case and
                is not and was not an equity security holder or an insider of the Debtor;
             b. Within two years before the Petition Date, no one at Sullivan & Cook, LLC, was a
                director, officer, or employee of the Debtor;
             c. Sullivan & Cook, LLC, does not have an interest materially adverse to the interest
                of the estate or any class of creditors or equity security holders, by reason of any
                direct or indirect relationship to, connection with, or interest in, the Debtor, or for
                any other reason.
        18.    Based on that review, Sullivan & Cook, LLC, does not have any relationship to or
 connection with or interest in (i) the United States Trustee or any person employed by the office
 of the United States Trustee or (ii) any attorneys, accountants, financial consultants, and
 investment bankers who represent or may represent claimants or other parties in interest in this
 case.
          19.    Sullivan & Cook, LLC, does not represent any creditors or other parties-in-interest
 in this case.
         20.     Accordingly, except as set forth herein, and based upon the information available
 to me, neither I, or Sullivan & Cook, LLC, holds or represents any interest adverse to the Debtor
 or its estate in the matters upon which Sullivan & Cook, LLC, is employed. Based upon the
 information available to me, I believe that Sullivan & Cook, LLC, is a “disinterested person” as
 that term is defined in Code § 101(14).
         21.     No promises have been received by Sullivan & Cook, LLC, or by any employee
 thereof, to receive compensation in this case other than in accordance with the provisions of the
 Bankruptcy Code, the Bankruptcy Rules of Procedure, and the Local Bankruptcy Rules. No one
 employed at Sullivan & Cook, LLC, has agreed to share compensation received in this case with
 any other person or entity not a member or regular associate with Sullivan & Cook, LLC.
        I declare under penalty of perjury under the laws of the United States of America that the
 foregoing is true and correct.
 Dated: February 9, 2022
                                                    /s/ M. Jason Ankele

                                                    M. Jason Ankele




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